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                                                                                              FILED
                                                                                            April 16, 2025


                                                                                       CLERK, U.S. DISTRICT COURT
                        IN THE UNITED STATES DISTRICT COURT                            WESTERN DISTRICT OF TEXAS
                         FOR THE WESTERN DISTRICT OF TEXAS                                 By:        RR
                                SAn
                                SaNAAnTo
                                     NtOnNiIoO DIVISION                                                     Deputy


 UNITED STATES OF AMERICA                         §                  Case No:            SA:25-CR-00207-JKP

                                                  §
         Plaintiff,                               §
                                                  §
 v.                                               §
                                                  §   IND I C T M E N T
 HECTOR JULIO MARTINEZ                            §
                                                  §   Firearm   Trafficking

         Defendant.                               §
                                                  §   Possession     of a Machine   Gun

                                                  §
                                                  §   Possession     of Unregistered   Firearm

                                                  §
                                                  §   Dealing   in   Firearms Without a License

                                                  §
                                                  §
THE GRAND JURY CHARGES:

                                           COUNT ONE
                                       (18 U.S.C. § 933(a)(1))


                                                                           Defendant,


                                  HECTOR JULIO MARTINEZ


did ship, transport, transfer, cause to be transported, or otherwise dispose of at least one firearm,


to wit: a Glock GMBH, model 19X, 9mm caliber pistol, serial number CAHU931, which was


equipped with a machinegun conversion device that made the pistol capable of firing


automatically more than one shot, without manual reloading, by a single function of the trigger,


to another person in or otherwise affecting commerce, knowing or having reasonable cause to


believe that the use, carrying, or possession of the firearm by the recipient would constitute a


felony, to wit, Possession of a Machine Gun, all in violation of Title 18, United States Code,


Section 933(a)(1).
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                                          COUNT TWO
                                        (18 U.S.C. §922(o))


                                                                           Defendant,


                                  HECTOR JULIO MARTINEZ


did knowingly possess at least one machinegun, to wit: a Glock GMBH, model 19X, 9mm


caliber pistol, serial number CAHU931, which was equipped with a machinegun conversion


device that made the pistol capable of firing automatically more than one shot, without manual


reloading, by a single function of the trigger, in violation of Title 18, United States Code, Section


922(o).


                                                   THREE
                                       (26 U.S.C. §5861(d))


                                                                           Defendant,

                                  HECTOR JULIO MARTINEZ

knowingly possessed a firearm, a Glock GMBH, model 19X, 9mm caliber pistol, serial number

CAHU931, which was equipped with a machinegun conversion device, not registered to him in

the National Firearms Registration and Transfer Record, in violation of Title 26, United States

Code, Sections 5841, 5861(d), and 5871.

                                                     FOUR
                                     (18 U.S.C. § 922(a)(1)(A))




                                 Hector      Julio   Martinez
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    NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                                     [See Fed. R. Crim. P. 32.2]
                                                   I.
                            Firearm Violation and Forfeiture Statutes
            [Title 18 U.S.C. §§ 922(a)(1)(A)/(o), and 933(a)(1) subject to forfeiture
       pursuant to Title 18 U.S.C. § 924(d)(1), made applicable to criminal forfeiture
                                    by Title 28 U.S.C. § 2461(c)]


       As a result of the criminal violations set forth in Counts One, Two, and Four, the United


States of America gives notice to the Defendant of its intent to seek the forfeiture of the property


described below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. §


924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c), which states:


       Title 18 U.S.C. § 924. Penalties
           (d)(l) Any firearm or ammunition involved in or used in any knowing violation
           of subsection . . . (o) . . . of section 922 . . . or 933 . . . shall be subject to seizure
           and forfeiture . . . under the provisions of this chapter......
                                                     II.
                  Unregistered Possession Violation and Forfeiture Statutes
   [Title 26 U.S.C. § 5861(d), subject for forfeiture pursuant to Title 26 U.S.C. § 5872(d),
             made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

       As a result of the criminal violation set forth in Count Three, the United States of America

gives notice to the Defendant of its intent to seek the forfeiture of the property described below

upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 924(d)(1), made

applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c), which states the following:

       Title 26 U.S.C. § 5872. Forfeitures
           (a) Laws applicable.―Any firearm involved in any violation of the
           provisions of this chapter shall be subject to seizure and forfeiture ......
                                                III.
                                        Personal Property
This Notice of Demand for Forfeiture includes but is not limited to the following property:

   1. Ruger; Model: EC9S; Caliber: 9; Type: Pistol; S/N: 462-81590;
   2. Unknown Manufacturer; Model: P80; Caliber: 9; Type: Pistol; S/N: None;
   3. Palmetto State Armory; Model: Dagger Compact; Caliber: Multi; Type: PISTOL; S/N:
      JJE48838;
   4. Trailblazer Firearms, LLC; Model: Lifecard; Caliber: 22; Type: Pistol; S/N: 20788;



                                                   3
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   5. Smith & Wesson; Model: M&P 40 M2.0 Compact; Caliber: 40; Type: Pistol; S/N:
      mpn5439;
   6. Sig Sauer (Sig-Arms); Model: P238; Caliber: 380; Type: Pistol; S/N: 27B389480;
   7. Any and all firearms, ammunition, machinegun conversion devices, and/or accessories
      involved in or used in the commission of the criminal offenses.

                                              IV.
                                        Money Judgment

Money Judgment: A sum of money that represents the amount of proceeds obtained, directly or
indirectly, property involved in such offense, or traceable to such property as a result of the
violations set forth in Count One for which the Defendant is liable.
                                                V.
                                        Substitute Assets

       If any of the property described above as being subject to forfeiture for the violation set

forth above, as a result of any act or omission of the Defendant:

       a.      cannot be located upon the exercise of due diligence;
       b.      has been transferred or sold to, or deposited with, a third party;
       c.      has been placed beyond the jurisdiction of the court;
       d.      has been substantially diminished in value; or
       e.      has been commingled with other property which cannot be divided without
               difficulty;

it is the intent of the United States of America to seek forfeiture of any other property, up to the

value of the money judgment, as substitute assets pursuant to Title 21 U.S.C. 853(p) and Fed. R.

Crim. P. 32.2(e)(1).




       MARGARET F. LEACHMAN
       ACTING UNITED STATES ATTORNEY


  BY: __________________
      For S         Waan
          Saarraahh W   naarrk
                       nn    kaa
      Assistant U.S. Attorney




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